Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 1 of 10 PagelD# 2782

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Alexandria Division

SHRADDHA PATEL, )
Plaintiff, )
)

v ) Case No. 1:15-cv-598
)
KIRIT PATEL, ef al., )
Defendants. )

ORDER

Plaintiff Shraddha Patel alleges that members of her family abducted her from her home
in Virginia in May 2013 and held her captive in Pennsylvania and California for six months. In
the three years since plaintiff initiated this suit in May 2015, plaintiff's claims against the eight
defendants, all members of her family, have been resolved. As relevant here, default judgment
was entered against Kirit and Krupa Patel, plaintiff's father and stepmother, in the amount of
$5,500, and judgment was entered against Atul Patel, plaintiff's uncle, in the amount of $4,000
following a jury trial.

Plaintiff now requests relief from the entry of judgment against Atul, Kirit and Krupa for
mistake under Rule 60(b)(1), Fed. R. Civ. P., and because she alleges it is void pursuant to Rule
60(b)(4), Fed. R. Civ. P. Plaintiff has fully briefed the issue, and because argument would not aid
the decisional process, it is now ripe for disposition. For the reasons set forth herein, plaintiff's
motion must be denied.

I.

The facts of this case have been described at length in the three years this lawsuit has

been pending. Nevertheless, a brief overview is necessary for the resolution of this motion.

Plaintiff filed this state-law diversity action in May 2015 against eight family members after they
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 2 of 10 PagelD# 2783

allegedly conspired to take her by force from her Virginia home, assaulted her, battered her and
falsely imprisoned her in Pennsylvania and California from May to October 2013. Patel v. Patel,
283 F. Supp. 3d 512, 513 (E.D. Va. 2017). Plaintiff filed a Second Amended Complaint in May
2016 asserting claims of false imprisonment, battery, assault, intentional infliction of emotional
distress and common law civil conspiracy against Atul, Kirit, Krupa and various other family
members. /d. at 513—14. Plaintiff's Second Amended Complaint also alleged that Kirit
committed a violation of the Virginia Computer Crimes Act. /d.

Although default was initially entered against all defendants when they failed to file
timely responses, four ultimately made appearances. /d. at 514. Plaintiff voluntarily dismissed
two from the case. /d. Two others, Atul and his wife, Nina, proceeded pro se to ajury trial.' Id.
At trial, plaintiff's common law civil conspiracy claim was dismissed for lack of evidence after
plaintiff presented her case-in-chief. Patel v. Patel, No. a-15-cv-598, at *1, 2017 WL 5198151
(E.D. Va. July 31, 2017) (Order). Plaintiff did not object. Jd. The jury then returned a verdict in
favor of Nina on all remaining counts against her and in favor of Atul on three of the four
remaining counts against him. /d. at *2. Plaintiff prevailed on the false imprisonment claim

against Atul, for which the jury awarded plaintiff $4,000 in compensatory damages, a fraction of

 

' Plaintiff complains that the Order awarding default judgment against Kirit and Krupa “misunderst[ands]” some of
the evidence presented at Atul and Nina’s trial. Specifically, plaintiff represents that her “psychiatrist testified
generally that some people with bipolar disorder experience hallucinations and delusions. But he did not testify that
Shraddha ever experienced those symptoms.” Pl.’s Br. 10. (emphasis in original). To the contrary, Dr. Schonfeld
testified that plaintiff had “confusion and paranoia” when she was first hospitalized in 2011. Trial Tr. vol. 1, 9:4-5,
12:24-13:4. The second time plaintiff was hospitalized, Dr. Schonfeld testified, plaintiff “was still delusional,
having delusions.” /d. at 13:5-9. Additionally, Dr. Schonfeld testified that when plaintiff “is off of [her]
medications, the illness recurs” and plaintiff exhibits “[t]he paranoia, the paranoid delusion.” /d. at 13:21-25, 14:1—
3. Furthermore, Dr. Schonfeld testified that, when he began treating plaintiff again following the alleged kidnapping,
her paranoia and delusions had returned. /d. at 30:3-12. Indeed, since plaintiff resumed psychiatric treatment in
2014, Dr. Schonfeld explained, “there is a delusional aspect to her thinking.” /d. Accordingly, plaintiff's contention
that “at no time has Dr. Schonfeld stated that Shraddha was delusional” is plainly untrue. P1.’s Brief 10.

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Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 3 of 10 PagelD# 2784

the millions she requested. /d. Neither party appealed the verdict, and the judgment was satisfied.
Id.

The other four defendants remained in default. Pate/, 283 F. Supp. 3d at 514. Two were
ultimately dismissed for lack of personal jurisdiction. /d. Plaintiff moved for default judgment
against the final two defendants, Kirit and Krupa, and a hearing was scheduled for August 18,
2017 to give plaintiff an opportunity to present evidence of her damages. /d. at 514-15. The
Clerk was directed to send a copy of the Order scheduling the hearing to plaintiff, who was
proceeding pro se at the time. /d. at 515. Plaintiff failed to appear at the hearing. /d. An Order
issued on August 18, 2017 directing the Clerk to enter default judgment against Kirit and Krupa
in the amount of $5,500.? /d. Sixty days after the entry of default judgment, plaintiff filed a
motion to extend her time to file a notice of appeal purportedly pursuant to Rule 4(a)(5), Fed. R.
Civ. P, alleging that she never received notice of the judgment. /d. Plaintiff's motion was denied
because “Rule 4(a)(6), not Rule 4(a)(5), applies to cases where . . . a party seeks to extend her
time to appeal based solely on a lack of notice of the judgment” and plaintiff failed to file her
motion within the 14-day limit set by Rule 4(a)(6). /d. at 518. Plaintiff appealed the denial,
arguing it was improper to find Rule 4(a)(6), and not Rule 4(a)(5), applicable. Patel v. Patel, 727
F. App’x 52 (Mem), 52 (4th Cir. 2018). The Fourth Circuit affirmed the denial.? /d. at 52.
Undeterred, plaintiff subsequently filed the Motion to Reconsider Entry of Judgment against
Atul, Kirit and Krupa now at issue. With respect to the judgment against Atul, plaintiff argues

that (i) the partial judgment in favor of Atul on the conspiracy count is void because default

 

? Specifically, a judgment of $4,000 was ordered against defendants Kirit and Krupa Patel with respect to plaintiff's
claims for false imprisonment, battery, assault, intentional infliction of emotional distress and conspiracy. Patel v.
Patel, No. 1:15-cv-598 (E.D. Va. Aug. 18, 2017) (Order). An additional judgment of $1,500 was ordered against
defendant Kirit Patel with respect to plaintiff's Virginia Computer Crimes Act claim. /d.

3 The Fourth Circuit also dismissed plaintiff's appeal of other orders for lack of jurisdiction and denied plaintiff's
motions to defer and for preparation of transcripts at government expense. Patel, 727 F. App’x 52 (Mem) at 53.

3
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 4 of 10 PagelD# 2785

judgment was entered against Kirit and Krupa on the conspiracy counts against them, (ii)
dismissal of the conspiracy count was a mistake because it was based on a lack of evidence due
largely to Kirit and Krupa’s refusal to participate in discovery, (iii) the jury trial was unfair
because it occurred without Kirit and Krupa participating in discovery and (iv) the jury award
was inadequate. Pl.’s Br. 6-15. With respect to the judgment against Kirit and Krupa, plaintiff
argues that (1) the judgment is void because it was based on the partial judgment in favor of Atul,
(ii) the Order awarding default judgment mistakenly made an independent determination of
damages, (iii) the Order “misunderstood” plaintiff's psychiatrist, (iv) the Order “mistakenly
relied in part on false or extraneous reasoning” in concluding plaintiff's semi-conscious state
when her family allegedly abducted her casts doubt on her allegations, (v) the Order mistakenly
considered the jury’s decision to award plaintiff $4,000 in damages against Atul when
determining the amount of damages, (vi) the lack of factual support in the record was mistakenly
used to undermine plaintiff's claim of damages and (vii) the default judgment award was
inadequate. /d.

II.

Rule 60(b), Fed. R. Civ. P., authorizes courts to relieve a party from a final judgment or
order in very limited circumstances. As relevant here, Rule 60(b)(1) authorizes relief for
“mistake, inadvertence, surprise, or excusable neglect” and Rule 60(b)(4) authorizes relief when
“the judgment is void.” Fed. R. Civ. P. 60(b)(1), (4).

Notably, the Fourth Circuit has made clear that “[t]he extraordinary remedy of Rule 60(b)
is only to be granted in exceptional circumstances.” Wilson v. Thompson, 138 F. App’x 556, 557
(4th Cir. 2005). Three threshold conditions must be satisfied. Park Corp. v. Lexington Ins. Co.,

812 F.2d 894, 896 (4th Cir. 1987). First, the “moving party must show that [her] motion is
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 5 of 10 PagelD# 2786

timely.” /d. Second, she must demonstrate “that [s]he has a meritorious [claim or] defense to the
action.” Id. See Aikens v. Ingram, 652 F.3d 496, 501 (4th Cir. 2011) (noting that a Rule 60(b)
movant must “have a meritorious claim or defense”) (emphasis added). Third, she must establish
“that the opposing party would not be unfairly prejudiced by having the judgment set aside.” 812
F.2d at 896. “If the moving party makes such a showing, [s]he must then satisfy one or more of
the six grounds for relief set forth in Rule 60(b) in order to obtain relief from the judgment.” /d.
Although the Fourth Circuit has “taken an increasingly liberal view of Rule 60(b)” in the context
of default judgments, it has done so where default judgment was entered against, not in favor of,
the Rule 60(b) movant. Nat'l Credit Union Admin. Board v. Gray, | F.3d 262, 264 (4th Cir.
1993).

Plaintiff seeks reconsideration of the judgment based on two of the grounds for relief in
Rule 60(b). First, she relies on Rule 60(b)(1), Fed. R. Civ. P, which provides relief for “mistake,
inadvertence, surprise, or excusable neglect.” Here, plaintiff alleges mistake. PI.’s Brief 1. When
deciding whether to grant relief under Rule 60(b)(1), “the District Court denies or grants relief
based on its discretionary appraisal of the particular facts of the case.” Universal Film
Exchanges, Inc. v. Lust, 479 F.2d 573, 576 (4th Cir. 1973). Second, plaintiff relies on Rule
60(b)(4), Fed. R. Civ. P. This provision authorizes relief when “the judgment is void.” Satisfying
Rule 60(b)(4) is a difficult task. According to the Supreme Court, “a void judgment is one so
affected by a fundamental infirmity that the infirmity may be raised even after the judgment
becomes final. The list of such infirmities is exceedingly short.” United Student Aid Funds, Inc.
v. Espinosa, 559 U.S. 260, 270 (2010) (citations omitted). Accordingly, “[a] judgment is not
void, for example, simply because it is or may have been erroneous. . . . Instead, Rule 60(b)(4)

applies only in the rare instance where a judgment is premised either on a certain type of
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 6 of 10 PagelD# 2787

jurisdictional error or on a violation of due process that deprives a party of notice or the
opportunity to be heard.” /d. at 271-72 (internal quotation marks and citations omitted). The
Fourth Circuit has similarly cautioned that “courts must be mindful that Rule 60(b)(4) is not a
substitute for a timely appeal.” Wendt v. Leonard, 431 F.3d 410, 412-13 (4th Cir. 2005). Rather,
“{a]n order is ‘void’ for purposes of Rule 60(b)(4) only if the court rendering the decision lacked
personal or subject matter jurisdiction or acted in a manner inconsistent with due process of
law.” Id.

Finally, it is important to note that, although judicial mistakes may be grounds for relief
under Rule 60(b), a party may not use Rule 60(b) to request reexamination of legal issues. United
States v. Williams, 674 F.2d 310, 312-13 (4th Cir. 1982). As the Fourth Circuit has explained,
“Rule 60(b) does not authorize a motion merely for reconsideration of a legal issue. ... Where
the motion is nothing more than a request that the district court change its mind, . . . it is not
authorized by Rule 60(b).” /d. Accordingly, “[rJelief is not authorized under Rule 60(b) where
the “motion simply reiterates legal arguments already addressed in the district court’s first
order.” CNF Constructors, Inc. v. Donohoe Construction Co., 57 F.3d 395, 400 (4th Cir. 1995).
Moreover, the Fourth Circuit has held requests for reconsideration of factual issues are similarly
inappropriate under Rule 60(b). See, e.g., United States v. Vassell, 22 F. App’x 193, 194 (4th Cir.
2001) (dismissing an appeal based on legal and factual arguments from the district court’s denial
of a motion for reconsideration where the movant “[did] nothing more than disagree with the
court’s resolution” of the matter because Rule 60(b) does not authorize relief “[w]hen the motion

raises no new arguments, but merely requests the district court to reconsider a legal issue or to

change its mind”).
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 7 of 10 PagelD# 2788

Il.

It is appropriate to start with the first of the three threshold requirements for relief under
Rule 60(b), namely that the motion is timely. Park Corp. v. Lexington Ins. Co., 812 F.2d 894,
896 (4th Cir. 1987). Specifically, a motion under Rule 60(b)(1) is subject to an absolute filing
deadline of “no more than a year after the entry of the judgment or order.” Fed. R. Civ. P.
60(c)(1). Additionally, all “motion[s] under Rule 60(b) must be made within a reasonable time.”
dd. Plaintiff satisfies the former requirement but fails to satisfy the latter requirement.

Plaintiff satisfies, barely, the requirement that a motion pursuant to Rule 60(b)(1) be
made “no more than a year after the entry of the judgment or order.” Fed. R. Civ. P. 60(c)(1).
Final judgment was entered on August 21, 2017. Patel v. Patel, No. 1:15-cv-598 (E.D. Va. Aug.
21, 2017) (Default Judgment). Plaintiff filed the instant motion on August 21, 2018.
Accordingly, plaintiff has satisfied the jurisdictional requirement that her Rule 60(b)(1) motion
be filed no more than one year after entry of the judgment.’

Plaintiff contends she also satisfies the requirement that her Rule 60(b) motion “be made
within a reasonable time.”> She does not. The Fourth Circuit has indicated that the

“reasonableness inquiry evaluates whether a movant acted promptly when put on notice of a

 

* At first blush, it may seem that plaintiff does not satisfy the one-year requirement with respect to her claim for
reconsideration of the judgment against Atul, as judgment was entered against him on September 16, 2016. Patel v.
Patel, No. 1:15-cv-598 (E.D. Va. Sept. 16, 2016) (Judgment). However, Rule 60(b) applies by its terms to “final
judgment(s].” Fed. R. Civ. P. 60(b) (emphasis added). The judgment entered against Atul on September 16, 2016
was interlocutory, not final. See Fed. R. Civ. P. 54(b); Baird v. Palmer, 114 F.3d 39, 42 (4th Cir. 1997) (“Where a
suit remains pending in the district court, an order dismissing one claim or defendant but not others ordinarily is not
final.”) Accordingly, it was not until final judgment was entered in the case on August 21, 2017 that the judgment
against Atul became final and eligible for attack under Rule 60(b). See Fayetteville Investors v. Com. Builders, 936
F.2d 1462, 1469 (4th Cir. 1991) (noting that “because the order was not final, Rule 60(b) was not available for relief
from an interlocutory order”).

> Fed. R. Civ. P. 60(c)(1).
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 8 of 10 PagelD# 2789

potential claim.” Wells Fargo Bank, N.A. v. AMH Roman Two NC, LLC, 859 F.3d 295, 300 (4th
Cir. 2017) (citation omitted) (approvingly quoting a First Circuit case concluding the same).
Plaintiff filed her Rule 60(b) motion exactly one year following entry of the final judgment she
challenges.® Plaintiff has not alleged that, following entry of final judgment, she has become
aware of claims of which she was previously unaware. Accordingly, the reasonableness inquiry
here evaluates whether plaintiff acted promptly in filing her Rule 60(b) motion exactly one year
following the entry of final judgment.

As the Fourth Circuit has made clear, “the movant bears the burden of showing
timeliness.” Moses v. Joyner, 815 F.3d 163, 166 (4th Cir. 2016). Yet, plaintiff fails to cite any
authority in support of her contention that her motion is timely. The Fourth Circuit has “held on
several occasions that a Rule 60(b) motion is not timely brought when it is made three to four
months after the original judgment and no valid reason is given for the delay.” McLawhorn vy.
John W. Daniel & Co., 924 F.2d 535, 538 (4th Cir. 1991). Accordingly, plaintiff's Rule 60(b)
motion is similarly untimely because plaintiff has failed to provide a valid reason for her year-
long delay. Plaintiff asserts only that her motion is timely because “([b]y filing within a year of
the judgment’s entry on August 21, 2017, while her appeal of the extension issue denial
remained pending, [plaintiff] meets both prongs of Rule 60(c)(1).”” Pl.’s Br. 5. Yet Fourth
Circuit precedent suggests that a pending appeal is not a valid reason for delay in filing a Rule
60(b) motion. Indeed, the Fourth Circuit has noted that “litigants who seek Rule 60(b) relief

typically cannot wait until an appeal has been conducted to request such relief because the period

 

© As discussed in footnote 3, the judgment against Atul entered September 16, 2016 was made final when final
judgment was entered in the case on August 21, 2017, exactly one year before plaintiff filed her Rule 60(b) motion.

? Although a panel of the Fourth Circuit issued an opinion on June 18, 2018, the Circuit did not deny plaintiff's
petition for rehearing and rehearing en banc until August 21, 2018. See Patel v. Patel, 727 F. App’x 52 (Mem.) (4th
Cir. 2018); Patel v. Patel, No. 1:15-cv-598 (4th Cir. Aug. 21, 2018) (Order).

8
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 9 of 10 PagelD# 2790

during which the case is on appeal counts toward determining whether a Rule 60(b) motion is
timely filed.” Fobian v. Storage Tech. Corp., 164 F.3d 887, 889-91 (4th Cir. 1999) (citation
omitted) (concluding that a district court has jurisdiction to entertain a Rule 60(b) motion while
an appeal is pending “and should do so promptly”). Accordingly, plaintiff has proffered no valid
reason for her year-long delay in filing her Rule 60(b) motion.

Moreover, the Fourth Circuit has found it significant that a Rule 60(b) movant “slept on
[her] rights” in affirming the district court’s finding that her Rule 60(b) motion was untimely.
Wells Fargo Bank. N.A. v AMH Roman Two NC, LLC, 859 F.3d 295, 300 (4th Cir. 2017).
Plaintiff here did the same. Plaintiff failed to object to dismissal of the conspiracy claim against
Atul that she now alleges was a mistake. Plaintiff failed to appeal the jury verdict against Atul
that she now challenges. Plaintiff failed to show up to the hearing during which she had the
opportunity “present evidence . . . to support her . . . requested damages” against Kirit and
Krupa. Patel v. Patel, No. 1:15-cv-598 (E.D. Va. July 31, 2017) (Order). And plaintiff failed to
timely appeal the default judgment entered against Kirit and Krupa which she now complains is
inadequate. “It is a well settled principle of law that a Rule 60(b) motion seeking relief from a
final judgment is not a substitute for a timely and proper appeal.” Dowell v. State Farm Fire &
Cas. Auto. Ins. Co., 993 F.2d 46, 48 (4th Cir. 1993).

Plaintiff has thus failed to satisfy her burden of establishing that she meets the first of the
three threshold requirements for relief from final judgment under Rule 60(b), namely that her
motion is timely. It is therefore unnecessary to consider whether plaintiff has met the other
requirements of Rule 60(b).

Accordingly, and for the reasons stated herein, it is hereby ORDERED that plaintiff's

Motion to Reconsider Entry of Judgment (Doc. 301) is DENIED.
Case 1:15-cv-00598-TSE-TCB Document 307 Filed 10/16/18 Page 10 of 10 PagelD# 2791

The Clerk is directed to provide a copy of this Ordcr to all counsel of record.

Alexandria, Virginia
October 16, 2018

  
 

 

T. 8. Ellis, fl
United States Digtrict Judge

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